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                                       Exhibit 1

                                         APA




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                        EXHIBIT A

             SCHEDULE OF CERTAIN ASSETS




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               ScheduleofTrademarksandBrands



TRADEMARK           OWNER            TRADEMARK TYPE                IC CLASS         SERIAL OR    APPLICATION          REGISTRATION         REGISTRATION
                                                                  US CLASS         APPLICATION       DATE               NUMBER                 DATE
                                                                 GOODS AND           NUMBER
                                                                  SERVICES
ADRENALINE Art Van Furniture,       Trademark                IC 20 Mattresses,    87-102,773   7/13/2016          5,233,861               6/27/2017
           LLC                                               sleep products,
                                    Word                     namely, mattresses,
                                                             spring mattresses,
                                                             box springs and
                                                             mattress foundations

ARBOR          Art Van Furniture,   Trademark                IC 20 Bed pillows;   87-681,916      11/13/2017      5,577,246               10/2/2018
               LLC                                           Pillows
                                    Word                     ;
                                                             IC 24 Bed blankets;
                                                             Bed covers; Bed
                                                             linen; Bed pads; Bed
                                                             sheets;
                                                             Bed skirts; Bed
                                                                                                                                                                                      Case 20-10553-CSS




                                                             spreads; Bed throws;
                                                             Box spring covers;
                                                             Comforters; Duvets;
                                                             Eiderdown covers;
                                                             Eiderdowns; Mattress
                                                             covers; Mattress
                                                             pads; Pillow cases
                                                                                                                                                                                      Doc 1166-1




ARBOR          Art Van Furniture,   Trademark                IC 20 Box springs,    88-606998      9/6/2019        Pending                 Pending
               LLC                                           mattress foundations,
                                    Word                     mattresses; spring
                                                             mattresses


ART VAN        Art Van Furniture,   Service Mark             IC 42 Goods and          73-757305   10/12/1988      1,555,257               9/5/1989
               LLC                                           Services: Retail
                                    Word                     Furniture Store
                                                                                                                                                                                      Filed 02/01/21




                                                             Services

ART VAN        Art Van Furniture,   Trade-Mark (Word)        Goods: (1) Furniture     1725263     4/24/2015       TMA1037188              7/8/2019
(Canada)       LLC                                           Services: (1) Retail
                                                             Furniture store
                                                             services; (2) online
                                                             retail furniture store
                                                             services;
                                                             Classification: 20
                                                                                                                                                                                      Page 15 of 24




                                                             (furniture) & 35
                                                             (marketing)
ART VAN        Art Van Furniture,   Design Mark - Chair in   Class 35: (Retail        1835476     05/02/17        TMA1054436              9/16/2019
(Canada)       LLC                  the Square               furniture stores)
Chair in the
Square




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ART VAN        Art Van Furniture,   Service Mark              IC 35 Retail shops    85-130,918   9/16/2010         3,988,774              7/5/2011
PURE SLEEP     LLC                                            featuring sleep-
                                    Word with Pure Sleep      related products such
                                    next to a square with Art as pillows and
                                    Van word                  mattresses,

ART VAN        Art Van Furniture,   Service Mark            IC 35: Retail furniture 87-404,648   4/10/2017         5,316,879              10/24/2017
Chair in the   LLC                                          stores
Square                              Chair in the Square


BLACK          Art Van Furniture,   Service Mark            IC 35 Goods and        86-131,662    11/28/2013        4,579,292              8/5/2014
SATURDAY       LLC                                          Services: Retail store
                                    Word                    services featuring
                                                            furniture and
                                                            mattresses

DETROIT        Art Van Furniture,   Trademark               IC 20 Box Springs;    87-516,479     7/5/2017          5,377,263              1/9/2018
MATTRESS       LLC                                          Mattress foundations;
CO.                                 Word                    Mattresses; sleep
                                                            products, namely,
                                                            mattresses, spring
                                                            mattresses, box
                                                                                                                                                                                      Case 20-10553-CSS




                                                            springs and mattress
                                                            foundations


DETROIT        Art Van Furniture,   Trademark               IC 20 Easy chairs;     86-622,152    8/26/2016 -        5,070,296             10/25/2016
SOFA           LLC                                          Sofas; Upholstered                   Amended
                                    Word                    furniture                            5/7/2015- Original
                                                                                                                                                                                      Doc 1166-1




MATTRESS       Art Van Furniture,   Service Mark            IC 42 Goods and        73-757307     10/12/1988        1,563,919              10/31/1989
EXPRESS        LLC                                          Services: Retail
                                    Words                   Furniture Store
                                                            Services

MOTOR CITY     Art Van Furniture,   Trademark               IC 20 Sleep products, 88-571912      8/8/2019          Pending                Pending
MATTRESS       LLC                                          namely mattresses,
                                                            box springs and
                                                            foundations
                                                                                                                                                                                      Filed 02/01/21




PURESLEEP      Art Van Furniture,   Service Mark            IC 35 retail shops    86-533,340     2/12/2015         4,795,256              8/18/2015
               LLC                                          featuring sleep-
                                    Word                    related products such
                                                            as pillows and
                                                            mattressess



PURESLEEP      Art Van Furniture,   Service Mark            IC 35 on-line retail   87-724,756    12/18/2017        5,508,593              7/3/2018
                                                                                                                                                                                      Page 16 of 24




               LLC                                          stores services
(online                             Word                    featuring mattress,
services)                                                   pillows and other
                                                            bedroom-related
                                                            products




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PURESLEEP         Art Van Furniture,   Service Mark             IC 35 on-line retail   87-724,624   12/18/2017    5,508,592               7/3/2018
                  LLC                                           stores services
(claiming color                        Word                     featuring bedroom
blue)                                                           products sush as
                                                                pillows and
                                                                mattresses; Retail
                                                                shops featuring
                                                                bedroom products
                                                                such as pillows and
                                                                mattresses



PURETECH          Art Van Furniture,   Trademark                 IC 20 bed pillows and 87-975564                  5,272,921
Child Matter      LLC                                           pillows and IC 24 Bed
                                       Word                     blankets; Bed covers;
                                                                Bed linen; Bed pads;                8/30/2016                             8/22/2017
                                                                Bed sheets; Bed
                                                                skirts; Bed spreads;
                                                                Bed throws;
                                                                Eiderdown covers;
                                                                Eiderdowns; Box
                                                                spring covers; Fitted
                                                                                                                                                                                      Case 20-10553-CSS




                                                                bed sheets; Flat bed
                                                                sheets

ROMA              Art Van Furniture,   Trademark                IC 20: Furniture       87-908,119   5/4/2018      5,595,818               10/30/2018
                  LLC
                                       Word
ROMA              Art Van Furniture,   Trademark               IC 20 Good and          85-021,418   4/23/2010     4,147,167               5/22/2012
                  LLC                                          Services: Furniture,
                                                                                                                                                                                      Doc 1166-1




                                       Word with box and chair excluding cabinets
                                       to left
SLEEP PURE Art Van Furniture,          Trademark               IC 20 mattresses,       87407302     4/11/2017     5,456,887               5/1/2018
BETTER        LLC                                              pillows, toppers, dog
SLEEP,                                 Word                    bed
NATURALLY
and Sleeping
Pure & Design
Snoozecube    Art Van Furniture,       Standard Character       IC 20 Mattresses       87-094664                  5,277,794               8/29/2017
              LLC                      Mark
                                                                                                                                                                                      Filed 02/01/21




Trademark
Assignment

Snoozecube        Art Van Furniture,   Standard Character       IC 20 Mattresses       88-576303    8/13/2019     Pending                 Pending
                  LLC                  Mark
Trademark
Assignment
                                                                                                                                                                                      Page 17 of 24




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TAKE THE          Art Van Furniture,   Service Mark             IC 35; Retail furniture 86-933,669          3/9/2016     5,085,533        11/22/2016
TEST OR           LLC                                           stores, retail store
TAKE YOUR                              Word                     services featuring
CHANCES                                                         assistance with
                                                                mattress selection;
                                                                retail stores featuring
                                                                sleep-related
                                                                products, namely
                                                                mattresses, mattress
                                                                protectors and pillows



THE BED FOR Art Van Furniture,         Service Mark             IC 35 Retail furniture   86-483,097         12/17/2014   4,789,730        8/11/2015
YOUR HEAD LLC                                                   stores, retail store
                                       Word                     services featuring
                                                                bedding

THE BED FOR Art Van Furniture,         Trademark                IC 20 pillows            87-156,848         8/31/2016    5,424,282        3/13/2018
YOUR HEAD LLC
                                       Word
ScottShuptrine
UNIVERSAL         Art Van Furniture,   Trade-Mark               IC 20 Beds,              85-532,996         2/3/2012     4,404,055        9/17/2013
                                                                                                                                                                                      Case 20-10553-CSS




SLEEP             LLC                                           mattresses, pillows
PRODUCTS                               Word                     and bolsters;
(to be                                                          Mattresses
abandoned)

* This schedule remains subject to the terms of this Agreement, including, without limitation, Section 7.
                                                                                                                                                                                      Doc 1166-1
                                                                                                                                                                                      Filed 02/01/21
                                                                                                                                                                                      Page 18 of 24




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ScheduleofDomainNames*

Domain Name
artvansucks.biz
baltimoremattressco.com
baltimoremattresscompany.com
pittsburghmattressco.com
pittsburghmattresscompany.com
PURESLEEPMATTRESSES.COM
ARTVANPURESLEEPQUIZ.COM
ARTVANCONTESTS.COM
ARTVANSUCKS.CO
ARTVANSUCKS.COM
ARTVANSUCKS.INFO
ARTVANSUCKS.NET
ARTVANSUCKS.ORG
AVFCORP.COM
artvan.ca
THREADANDFEATHERFURNITURE.COM
detroitmattressco.ca
detroitmattressco.com
detroitmattresscompany.ca
detroitmattresscompany.com
detroitsofaco.ca
detroitsofacompany.ca
artvandirect.ca
artvanonline.ca
artvanpuresleep.ca
puresleepmattresses.ca
SCOTTSHUPTRINE-EMAIL.COM
artvan.online
artvanfurniture.online
artvanfurniturerewards.com
artvanrewards.com
artvanrewardscard.com
artvantagerewards.com
WEVEGOTTHELOOK.COM
ARTVAN.SALE
ARTVANFLOORS.COM
discoverartvanfranchising.com
artvanfurniture.net
artvan.store
artvanfurniture.store
ARTVANFLOORS.NET
ARTVANCHARITYCHALLENGE.COM
artvanhome.biz
artvanhome.co
artvanhome.us
artvanhome.info
artvanhome.net
artvanhome.org
artvan.co
artvanhome.ca
artvanhome.online
adrenalinesleep.com
sleepadrenaline.com
artvannordicstyle.com
313linens.co
313linens.com
313linens.info
313linens.net
313linens.org
ARTVANMEDIA.COM
ARTVANMEDIA.INFO
ARTVANMEDIA.NET
artvanfranchising.biz
artvanfranchising.co


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artvanfranchising.us
artvanfranchising.info
artvanfranchising.net
artvanfranchising.org
adrenalinemattress.com
detroitsofaco.com
detroitsofacompany.com
SCOTTSHUPTRINE.COM
SCOTTSHUPTRINEINTERIORS.COM
SHUPTRINEINTERIORS.COM
ARTVANFLOORING.COM
purasleep.com
artvanfurniture.co
artvanfurnituresucks.biz
artvanfurnituresucks.co
artvanfurnituresucks.info
artvanfurnituresucks.net
artvanfurnituresucks.org
MICHIGANCLEANTEAM.COM
PURESLEEPMATTRESSSHOP.COM
PURESLEEPMATTRESSSTORE.COM
PURESLEEPMATTRESSSTORES.COM
artvanfurnitureoutlet.co
artvanoutlet.co
ARTVANFLOORING.INFO
ARTVANFLOORING.NET
artvanfurnitureoutlet.biz
artvanfurnitureoutlet.ca
artvanfurnitureoutlet.com
artvanfurnitureoutlet.gallery
artvanfurnitureoutlet.info
artvanfurnitureoutlet.net
artvanfurnitureoutlet.org
artvanfurnitureoutlet.store
artvanfurnitureoutlet.us
artvanoutlet.biz
artvanoutlet.ca
artvanoutlet.com
artvanoutlet.gallery
artvanoutlet.info
artvanoutlet.net
artvanoutlet.org
artvanoutlet.store
ARTVANFRANCHISING.COM
PURESLEEPING.COM
PURESLEEPEDGE.COM
PURESLEEPEDGE.INFO
PURESLEEPEDGE.NET
PURESLEEPEDGE.ORG
artvandirect.biz
artvandirect.co
artvandirect.us
artvanfurnituredirect.biz
artvanfurnituredirect.co
artvanfurnituredirect.us
artvan.direct
artvandirect.com
artvandirect.info
artvandirect.net
artvandirect.org
artvanfurnituredirect.com
artvanfurnituredirect.info
artvanfurnituredirect.net
artvanfurnituredirect.org
ARTVANFURNITURE.ORG
artvanbrands.com
ARTVAN.BIZ
ARTVAN.US



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ARTVANFURNITURE.BIZ
ARTVANFURNITURE.US
ARTVAN.INFO
ARTVAN.MOBI
ARTVAN.ORG
ARTVAN.XXX
ARTVANFURNITURE.INFO
ARTVANFURNITURE.MOBI
ARTVANFURNITURE.XXX
ARTVANFURNITURESUCKS.COM
ARTVANONLINE.COM
hillside-furniture.com
hillsidefurniture.com
arborbedding.com
arborbedding.info
arborbedding.net
arborbedding.org
arborbedlinens.com
arborbedlinens.info
arborbedlinens.net
arborbedlinens.org
arborlinens.com
arborlinens.info
arborlinens.net
arborlinens.org
detroitpetbeds.com
detroitpetbeds.info
detroitpetbeds.net
detroitpetbeds.org
ARTVANHOMEREWARDS.COM
artvan.blackfriday
artvan.adult
artvan.bargains
artvan.careers
artvan.porn
artvan.today
artvan.wtf
artvancareers.com
myartvan.com
hillside.furniture
hillside-furniture.net
hillsidefurniture.net
ARTVAN.COM
ARTSBACKYARD.COM
ARTVANMATTRESSES.COM
ARTVANPURESLEEP.COM

* This schedule is based on the Debtors' schedules of financial affairs and is subject to the terms of this Agreement, including, without limitation, Section 7.




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                                         EXHIBIT B

                      RESTRICTIVE COVENANT AGREEMENTS


Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Beth
M. Wood, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and David
P. Van Elslander, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Debra
A. Van Elslander, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Gary
A. Van Elslander, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Karen
B. Paglino, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and
Kenneth A. Van Elslander, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Kim
M. Van Elslander, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Kris
A. Scarfone, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and Lori
J. Webb, entered into as of January 16, 2017.

Non-Competition and Non-Solicitation Agreement by and among AVF Parent, LLC, Art Van
Furniture, Inc., AVASI, Inc., Comfort Mattress Co., Art Van Furniture – Conner, Inc., and
Sandra Seroka, entered into as of January 16, 2017.




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                         EXHIBIT C

                    FORM OF SALE ORDER

                     [Attached to Motion]




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